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                       CERTIFICATE OF SERVICE

     This is to certify that I have this 1st day of June, 2015, served

a copy of the foregoing upon the Petitioner in this action, a

non-CM/ECF participant, by placing a copy of the document in an

envelope in the U.S. Mail, addressed as follows:

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